
47 So.3d 405 (2010)
In re Lewis B. BLANCHE.
No. 2010-OB-2255.
Supreme Court of Louisiana.
November 9, 2010.

ORDER
Considering the Petition for Transfer to Active Status and the Petition for Interim Suspension Pursuant to Supreme Court Rule XIX, § 19 filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Lewis B. Blanche, Louisiana Bar Roll number 27383, be and he hereby is reinstated to active status pursuant to Supreme Court Rule XIX, § 22(G). Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that respondent be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
  FOR THE COURT:
  /s/ Bernette J. Johnson
  Justice, Supreme Court of Louisiana
*406 
